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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN

DARRYLE POLLARD,

       Plaintiff,

-vs-                                             CASE NO. 1:18-cv-404
                                                 HON. GORDON J. QUIST

CITY OF MUSKEGON HEIGHTS,
BRANDON M. DEKUIPER,
MICHAEL T. EDENS, and
MICHAEL M. RATLIFF,
in their individual and official capacities,

       Defendants.

CHRISTOPHER TRAINOR & ASSOCIATES               PLUNKETT COONEY
CHRISTOPHER J. TRAINOR (P42449)                MICHAEL S. BOGREN (P34835)
SHAWN C. CABOT (P64021)                        Attorney for Defendants
Attorneys for Plaintiff                        950 Trade Centre Way, Ste. 310
9750 Highland Road                             Kalamazoo, MI 49002
White Lake, MI 48386                           269-226-8822
(248) 886-8650                                 269-382-2506-fax
(248) 698-3321-fax                             mbogren@plunkettcooney.com
shawn.cabot@cjtrainor.com


 PLAINTIFF’S RESPONSE TO DEFENDANTS CITY OF MUSKEGON HEIGHTS,
BRANDON M. DEKUIPER, MICHAEL T. EDENS, AND MICHAEL M. RATLIFF’S
           AFFIRMATIVE DEFENSES AND PROOF OF SERVICE
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       NOW COMES Plaintiff, DARRYLE POLLARD, by and through his attorneys,

TRAINOR & ASSOCIATES, and hereby denies each and every one of Defendant’s

Affirmative Defenses either previously or hereinafter filed, and specifically leaves each

Defendant to their proofs of every affirmative defense.

                                    Respectfully Submitted,
                                    CHRISTOPHER TRAINOR & ASSOCIATES

                                    s/Shawn C. Cabot
                                    CHRISTOPHER J. TRAINOR (P42449)
                                    SHAWN C. CABOT (P64021)
                                    Attorneys for Plaintiff
                                    9750 Highland Road
                                    White Lake, MI 48386
                                    (248) 886-8650
                                    shawn.cabot@cjtrainor.com
Dated: May 11, 2018
SCC/sls


CERTIFICATE OF SERVICE


I hereby certify that on May 11, 2018, I
electronically filed the foregoing paper with the
Clerk of the Court using the ECF system which
will send notification of such filing to the
following: all attorneys of record, and I hereby
certify that I have mailed by United States Postal
Service the paper to the following non-ECF
participants: None.

s/ Shawn C. Cabot (P64021)
9750 Highland Road
White Lake, MI 48386
Phone: (248) 886-8650
shawn.cabot@cjtrainor.com
